        Case 2:24-cv-00157-ODW                          Document 1              Filed 01/08/24               Page 1 of 35 Page ID #:1

                                                                                  Nom
         ~~ r o Imp cry ~~,~. ~,~n~~ta~.~
NAME
                                                                                                                  FILED
                                                                                                               .S. DISTRICT COURT
PRISON IDENTIFICATIONBOOKING NO.


ADDRESS OR PLACE OF CONFINEMENT                                                                           .~W - 8?~4
        l~,s ~~~s, c.~ ~~~oa
Note:     If represented by an attorney, provide name, address, &telephone
          number. !t is your responsibility to notify the Clerk of Court in
          writing ofany change ofaddress.

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                                        CASE NUMBER:

                                                                   Plaintiff,       cv 2:ZLF- GV- v o 15~ -0D~
                                                                                            To be supplied by the Clerk of the United States District Court


                                     v.
                                                                                    cR         ao               c~8 ~t ~ ~- - d~ vs
                                                                                            Criminal case under which sentence was imposed.
~~'~5 ~'~ 1V 11~ E.~a ~41~
 FULL NAME OF MOVANT
(Include name under which you were convicted)                                            MOTION TO VACATE,SET ASIDE,OR
                                                                 Petitioner
                                                                                        CORRECT SENTENCE BY A PERSON IN
                                                                                               FEDERAL CUSTODY
                                                                                                 28 U.S.0 § 2255




                                                     INSTRUCTIONS -READ CAREFULLY

This motion must be legibly handwritten or typewritten and signed by the movant under penalty of perjury. Any false statement of a
material fact may serve as the basis for prosecution and conviction for perjury. All questions must be answered concisely in the
proper space on the form. Where more room is needed to answer any questions use reverse side of sheet.

Additional pages are not permitted. No citation ar authorities need be furnished. If briefs or arguments are submitted, they should
be submitted in the form of a separate memorandum.

Upon receipt, your motion will be filed if it is in proper order. NO FEE is required with this motion

If you do not have the necessary funds for transcripts, counsel, appeal, and other costs connected with a motion of this type, you may
request permission to proceed informa pauperis, in which event you must execute the declaration on the last page, setting forth
information establishing your inability to pay costs. If you wish to proceed infor•mu pauperis, you must have an authorized officer at
the penal institution complete the certificate as to the amount of money and securities on deposit to your credit in any account in the
institution.

Only judgments entered by one court may be challenged in a single motion. If you seek to challenge judgments entered by different
judges or divisions either• in the same district or in a different district, you must file separate motions as to each judgment.

Your attention is directed to the fact that you must include all grounds for reliefand all facts supporting such grounds for relief in the
motion you file seeking relief from any.judgment of conviction.

When the motion is fully completed, the original and three (3) copies must be mailed to the Clerk of the United States District Court,
whose address is 255 East Temple Street, Suite TS-134, Las Angeles, California 90012.


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                                                           MOTION


  1. Name and location of court that entered judgment of conviction under attack: ~}e.► ci-+EFD 51r'~_~4~N~1,.CL'
    Cc~v-RxT~~~~ e ~ c.M,.►Fow~~~.~ ~a 5 s ~ T'~P~, 5~'- , 5v ~~-e, r4-c ~
     ~s ~~-~,s                     c~       ooi a
2. Date of judgment of conviction:          ~ ~J ~~~~M                               I ~' ~~R'~'~~ ~~'3
3. Length of sentence: Lai N1~tl~J~i~} g ~         /nD    YYIoN~xS Sentencing judge: b~'l S GTJL~ t~tt' ~-
4. Nature of offense or offenses for which you were convicted:          g~'~~Cti~1Nl~ !~     C'1(2,~,(YV~ @~    ~1 LO       S




5. What was your plea? (check one)
     Not guilty
    ❑ Guilty
    ❑ Nolo Contendere

    If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:




6. Kind of trial: (check one)
   O~Jury
    ❑ Judge only


7. Did you testify at the trial?
    ❑ Yes       ~No


8. Did you appeal from the judgment of conviction?
       Yes       ❑ No



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9. ~f y, ou ;iicJ appeal, answer the following:

   (a) Name of court   V I~ t r~i,~ ~,6t~.g C~aRX" 8F ~~~.~ •— 111 N~ Cl IC.c~ ~'r
   (b)Result        ~,~~I(~i~ c9N~ b~ ~v90 ~~`r5 0l= SL t-~. ►C~Y~ NE, 1~ G2~ lYv~
          e~ ~l ~0~.~.jJG£

    (c) Date of result      vo a 47E~. : a~-
10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
    applications, or motions with respect to this judgment in any federal court?

        L7 Yes             ❑ No
1 1. If your answer to question number 10 was "yes," give the following information:
    (a) (1) Name of Court V.5 • ~ l gM~~C~" GaNI~. Ca~~R~,.. D~~NZIcx~ ~ C,~W ~ e2~.x~
       (2) Nature of proceeding           lJU' 2,1~' B"F C~9-RAM/ 1~{~~', ~ ~t~^~'(J~CM1Y1~' ~
          ~~~2D SE.1
       (3) Grounds raised ~CLl9Lp~~o(a1 f~ti~,B~c~ v.~NS BY~n~~r'r~ , y~e~ - ~~,.~~t.~.n ~~ro~g
               T~ Dv~~`~5 w                 ~D~~~ Ce~~c►ac~ o~ itil-~li~-4~' ~ 1Y~aL~/,~.s ,~;~ c~ ce~2~2 ~,~
        (4) Did you receive an evidentiary hearing on your petition, application, or motion?


        (5)


        (6) Date of result
    (b) (1) Name of Court         U~ S      ~1~ P21c~       2J~"      ~x~ARJ~-- ~D b~b~~~ o~        .~1,~ 6J2J~}L~
        (2) Nature of proceeding          u1j~T 6F ~.~~i                     ~'    C8 (CPU S      ~-1"61aC1~lV~L~Nr' ~
                    (Zp S£

        (3) Grounds raised ~I,RSr' SY~~ fir'              \[ Icl-~11s~S 6~        ~ ~ ~ YS ~ ~wufvs~ 6~t" R ~m~t t`S
               ~619P1.~Gi~t~~. V iD l..~x9C~f~   ~~cv~o r~~ o~ c- wr ~s cfl,,,r~ vcx' ~ ~y.~ ►c.a~ as~~--mot'
        (4) Did you receive an evidentiary hearing on your petition, application, or motion?
               ❑ Yes      ~To
       (5) Result        ~1~CX~D ~~..r~_S~,6a,~D i Y IM~S~' IaLs. G I1~ {~ ,~111~1~~1.ti
                ~~~
       (6) Date of result           1 ~+ ~~~Pt'~t/'X2t~., a•pa..3
   (c) (1) Name of Court
       (2) Nature of proceeding


       (3) Grounds raised


       (4) Did you receive an evidentiary hearing on your petition, application, or motion?
               ❑ Yes       ❑ No


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        (5)~ Result


       (6) Date of result
   (d) Did you appeal, to an appellate federal court having jurisdiction, the results of action taken on any petition,
       application, or motion?

       (1) First petition, etc.    ❑Yes ~No

       (2) Second petition, etc. ❑Yes ~No
       (3) Third petition, etc. ❑Yes ❑ No
  (e) If you did not appeal from the adverse action on any petition, application, or motion, explain briefly why you did not:
        _~~~E, 1 ~ ISF3t' C~lNi6'~~~`~' ~fU RaE~~S~o-' ~lW~ESf,1.;r                              l~l~A~.6.a1 ,
          C.A~a~ Nei' ~FFe~~ .9HJ ~r'i~e                         T~.,~ ~       12~vS ~p ~ ~~ ~..~. ~,R, nom. c~
             ~ f'~~tS~$. ~"~4 S`(~S~a,.~=     ~Tb2 ~ tJ            A~IJJ Q(~S ~W,~.1 6f2 ~U~                     1
        '~Z.~c3~t      ,~~ ~- (2~~~ ~-~5~ SC' WYE..



12. State concisely every ground on which you claim that you are being held unlawfully.

    CAUTION: If you fail to set forth all grounds in this motion, you may be barred from presenting additional grounds
    at a later date. For your information, the following is a list of the most frequently raised grounds for relief in this
    type of proceeding. Each statement preceded by a letter constitutes a separate ground for possible relief. You may raise
    any grounds that you have, whether listed below or not. However, you should raise in this motion all available
    grounds (relating to this conviction) on which you base your allegations that you are being held in custody unlawfully.

    If you select one or more ofthe grounds listed below for relief, you must allege facts in support ofthe grounds you
    select. The petition will be returned to you if you merely check (a)through (j) or any one or more of these grounds
    without alleging facts in support.

       (a) Conviction obtained by plea of guilty that was unlawfully induced or not made voluntarily or with
           understanding of the nature of the charge and the consequences of the plea.

       (b) Conviction obtained by use of coerced confession.
       (c) Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
       (d 'Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
       (e) Conviction obtained by violation of the privilege against self-incrimination.
       (fl      onviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence
               favorable to the defendant.
       (g) Conviction obtained by a violation of the protection against double jeopardy.
       (h) Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.
               Denial of effective assistance of counsel.
       (j) Denial of right of appeal.




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            i   1 1               1~i    _ 5 L       1                     3♦      ~`l     ''.aim        ~:'5~1~:I~~
                                                                                                                 !'~/



    Supporting facts (tell your story briefly without citing cases or law):
          S€~ UDR,t~' ~~ N,~                       (,p2~Pc~S




    B. Ground two: ~~~~~C~~1~ ~~1(~C~Q                      ~y     C~~ca►~!J ~1 Q~k V bpt.~~ot~j CgF
      ~~t.~'A~e(~~ ~4tN~~►1.16~, V~~N~ 1N~i~l~'it~1Uo~.l.N                             ~~YW'~'t~J(~
    Supporting facts (tell your story briefly without citing cases or law):
    ~.          4e~, GA~,..~-~ ~' `T ~ ~v~, Q ic~c               wN~ c u~oc~~,                   No ~'2~►g ~c,
    ~N~S1S cS--+F            I~JyNDvJ~,i~~Nb ~~~,                   V-'    ~v~p~~. wA~          '~9      ~R G~~.,A~o~~


      ~3~h~~k t~LoaD~~~~G
                       1  ~~                    S~, ht~,~!$~5~.8+2~PV~
    C. Ground three: ~~~~ ,tom, B'~'           IES~fi ~h'~v ~,     ~55~s~a~oE ~ C~SNS~~1..

    Supporting facts (tell your story briefly without citing cases or law): ~' Ste, ,9~e' ~ QQAtUF~D
  `~ C ~A..i~D~2x~1I Dd    13 ~nR Ck9MAP~~ N ~S               '~          Pt~~' ~' ACvI+~(v~~S        C ~i
  ~ ~~n.~             ~ ~' ^1~(~1~, ~`1 mil.,6 ~~~1~i 2~t ~9~R~D sei s-- (~,b `Z~


                ~~~~ 'ItO ~i~ r~laR.oNS tU R'r'rs N\r~ ~PP~S~D~r~ ~~ C~9nA~.Sf ~rw~.~~~°~~c
    D. Ground four: ~N-~.t•16~. ~~tisr~ti,e~~ ~ ~rrp,p1^~                   V ~~v (~         ut~cNV~.Et~' ~a / ~                ~
                                                                                                                                ~    ~

    Supporting facts (tell your story briefly without citing cases or law): ~p pZ L.~~~                  C`~.l rSl ~~N ~-1.-.
         ~`7~ R~ ~OlNriS /           Lq~i+ _ Ili 6S~laE.~D W 1,M                ~,,,k~2 ~~~tN~I~I ~ ~M~P'E}-~--~~ U~




     ~~~a,~ ~~.c~~ r(v~~~~ Cam.                                                 ~`rL
13 If any of the grounds listed in 12 A, B, C, or D were not previously presented, state briefly what grounds were not
    presented, and give your reasons for not presenting them:         ~~~.ckt~j             Wyp-h v NS    '~`4     C0-~~X'




14. Do you have any petition or appeal now pending in any court as to the judgment under attack?
    ❑ Yes        ~to




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15.Give the name and address, if known, of each attorney who represented you in the following stages of the judgment
   attacked herein:
  (a) At a preliminary hearing: ~f~t2~,¢a+J C9WA'~         ~l ~ W 1~ l-5~~~ ~►.uD `d~ ~ ~. k~{9O
               ~                C~       ~do~ ~
    (b) At arraignment and plea:    Q~}fliR~M9     Cd W A+~         1 ~l D


    (c) At trial:    ~~'             Ch~W A~1J       ~ 1~~ Q


    (d) At sentencing:    ~~~~~~)         C'A'W /JN.~     ~ ~►~


    (e) On appeal:    ~i1--1~lA~G3~N1    2.~C~1.~1~D`~O~ - ~D`I~              3~ 3 9       ~ ~$D~- 5`r'


    (fl In any post-conviction proceeding: ~1`~l~~ (2,1Ct~piR?4'~bt~ —~'~,}Z                            1 ~✓ 1D


   (g) On appeal from any adverse ruling in apost-conviction proceeding: ~QAJ~PjSL~ `T~~1.A1,                    ,'S a ~ ~ ,
       a"r~ 5~`~'             {~5 ~vJ c~Ems             ~, ~~U I a -~~~1
16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court at
    approximately the same time?

      Yes      ❑ No
    < ~
17. Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
    ❑ Yes       [ ,~No
  (a) If so, give the name and location of the court that imposed sentence to be served in the future:


   (b) Give the date and length of sentence to be served in the future:


   (c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed sentence to be
       served in the future?

        ❑ Yes            ❑ No

    WHEREFO          movant prays that the court grant him all relief to which he may be entitled in this proceeding.


                                                                                  Signature ofAttorney (ifany)

    I declare (or certify, verify, or state) under penalty of perjury that the fore oin is true and correct.


    Executed on      ~ ~~'~V p~            ~a.~.                             `~                ~.
                             Date                                                        nature ofMovant




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                                                              another voice from heaven   ev. 18:4-8 \`
                    WARNING ABOUT BABYLON. Then I heard
                    say:
                          ':Come out of her, m        le
                             so          wi not share in her sins,
                                                                 her plagues;
                             so that you will not receive any of

                    kGreek unclean




        C~~~-~µ J ~~ ola~c~ ~,cr ~o~o~~aNa~.~ ~xc~r~a,,e-+~ 0~
        1ti~ ~,~0~2,~.ur~,~r ~R. ~,~,~-b~ r.~~ ~~,~2 cam,Nv~
                    ~1JV~. UN~~ S~'~~S                       ~~cS~D `C~            ~'~,




                     ~H F c ~.s~ ~v+N~n~c~' ~.~~c~t~ -co p2~.e~c~
               V`N`~ (L~~~ ~ o~ r S i3f,~ N ~ X11,c~~~~ c~y~l ~~




                1~~,p~C ~ 'r ~~ CQ N~,M,~N~JS ~c`~~. TO ~~v~f ~E,




c v-b i (u~i t ~)                                          MOTION                                           Page 7 of9
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           ~~ ~:~ ~-~r~1                                                     DECLARATION IN SUPPORT
                          Petitioner                                                OF REQUEST
                                                                                    TO PROCEED
                                                                                IN FORMA PA UPERIS
                        Respondents)



    I,    ~~'~ ~-- ~ tJ~~                                        ,declare that I am the petitioner in the above entitled
case; that in support of my motion to proceed without being required to prepay fees, costs or give security therefor, I state
that because of my poverty I am unable to pay the costs of said proceeding or to give security therefor; that I believe I am
entitled to relief.

    Are you presently employed? ❑Yes /f~io
                                      ~ ~,
    a. If the answer is yes, state the amount of your salary or wages per month, and give the name and address of your
        employer.


    b. If the answer is no, state the date of last employment and the amount of the salary and wages per month which
        you received.


2. Have you received, within the past twelve months, any money from any of the following sources?
    a. Business, profession or form ofself-employment?                ❑Yes ~o

    b. Rent payments, interest or dividends?                          ❑Yes    C~Io

    c. Pensions, annuities or life insurance payments?                ❑Yes    C~,To                             _,

    d. Gifts or inheritances?                                         ❑Yes ~o
                                                                           i ~
    e. Any other sources?                                             ❑Yes ~No

    If the answer to any of the above is yes, describe each source of money and state the amount received from each
    during the past twelve months:



    Do you own an cash, or do you have money in a checking or savings account? (Include anyfunds in prison
    accounts) [Yes ❑ No                                           ~ I Q,

    If the answer is yes, state the total value of the items owned:        ~~           ~~~~ C,4~ P~1 ~~~lD
       ~~ G3. D ,ate. t9~J l~~ (~C , ~-0`a-~~
D   Do you own any real estate, stocks, bonds, not s, tomobiles, or other valuable property? (Excluding ordinary
    householdfurnishings and clothing) ❑Yes          No

    If the answer is yes, describe the property and state its approximate value:




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5. List the,persons who are dependent upon you for support. state your relationship to those persons, and indicate how
     much you contribute toward their support:      T~;




    I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.




    Executed on       ~ a~u~ `a0"~-
                          Date ~                                                      Signature ofPetitioner




                                                      CERTIFICATE


    I hereby certify that the Petitioner herein has the sum of ~_ ~ 1 ~~~~                               on account to his credit
at the     ~S l~~~~~ e.,~~tRJ~               M,81~~ ~~►.9012~                                                    institution where
he is confined. I further certify that Petitioner likewise has the following securities to his credit according to the records of
said institution:




                    Date                                                     ~iuthorized Officer ofInstitution



                                                                                      Title of Officer




         ~
         ~f~~ ~~



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Date: 12/18/2023                         Federal Bureau of Prisons       Facility: LOX
Time: 8:57:46 AM                                TRU FAC5
                                    Inmate Release Transac'      'ting
                                         Sensitive But Uncl




 Inmate Reg#:      77362112
 Inmate Name:      LINEHAN, DAVID
                                                                                           Case 2:24-cv-00157-ODW
                                                                                           Document 1
                                                                                           Filed 01/08/24




                                                                                         ~~

                                                                                         ~--
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TRULINCS 77362112 - LINEHAN, DAVID -Unit: LOF-G-C                                ~-~~~ M,~~                 A
-----------------------------------------------------------------------------------------------------------

FROM: 77362112
TO: Talai, Andrew
SUBJECT: Writ of Coram Nobis
DATE: 06/23/2023 03:17:33 PM


      ......................IN THE UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA


DAVID LINEHAN
     Petitioner-Appellee                                DC No. 2:20-cr-00417-ODW-1


g. BIRKHC~LZ
      Respondent



U NDER SEAL DOCUMENT - WRIT OF CORAM NOBIS

Petitioner-Appellee hereby respectfully requests the court for a review of the judgment predicated on errors in fact. It is likely
that exculpatory evidence was omitted, other violations were overlooked, non-frivolous motions to dismiss were denied or
inalversation occurred.

The Petitioner-Appellee continues to suffer and be threatened by the Bureau's Ad Hoc and adharmic persecution while he
endures unlawful incarceration as delineated in the Writ of Habeas Corpus dated 7 April, 2023, and in Exhibit A wherein he was
denied sustenance. He pleads with the court for mercy and leniency as he is unqualified to represent himself in sophisticated
legal matters such as this Writ of Coram Nobis.




WHEREFORE, Petitioner prays that the court grant him relief to which he may be entitled in this proceeding.

 declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge. Executed this 7th day of
Niay, 2023.




                                               David Michael Linehan, B.S.E.E., M.B.A., Ph.D. former candidate (ABD)




                                                                                                           ~ p ~ ~(~
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                 ~2a                                               -c               ~'R~C~(`~~~
            David Michael Linehan
            3600 Guard RD                                           ----------------------------------------
            Federal Correction Inst
            Lompoc, CA 93436-2705
            U nited States



            .....................IN THE UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

DAVID LINEHAN                                                DC No. 2:20-cr-00417-ODW-1
       Petitioner-Appellee


B. BIRKHOLZ
        Respondent


PETITION TO EXPEDITE WRIT OF HABEAS CORPUS BY A PERSON IN FEDERAL CUSTODY PURSUANT TO CIRCU;T
 R ULE 27-12
(28 U.S.C. section 2241)

Pursuant to Circuit Rule 27-12, Defendant-Appellant David Linehan petitions this court to expedite this Writ of Habeas Corpus
by a Person in Federal Custody. There is good cause to expedite this Writ because Petitioner has very strong argurnenis cha!
he is actually being held in custody longer than lawful as he is being denied lawful credit for time served as well as bung nen~ec,
Earned Time Credits that he has accrued since one of his convictions was reversed and the resenter~cing calr_ulations are ~n
error. Additionally, the remaining count is in cert petition before the Supreme Court. The Bureau is stochastically and arbitraril.-
applying the provisions of USC 3632(d)(4)(A)&(C)to prevent Petitioner from being transferred to a Residential Re-entry
Centre in retaliation for his dissent which is outlined in Ground THREE of this Writ. Petitioner has exhausted all Administrative
Remedies available up to and including the General Counsel (BP-11) which was rejected for invalid reasons as Petitioner was
not required to file at the institutional level pursuant to the Statutes because he was raising sensitive issues that he believes
would put his life in danger if the Warden was aware of the scope of his claims. Petitioner has refiled his partial informal
complaint(BP-8) at the institutional level on 27 March, 2023, but it is cruel and unusual punishment for him to have to c:oni~~ ~~.~e
his unjust incarceration while he waits for all Administrative Remedies to be exhausted for a second time before filing rh~~ `,f~l-~~
because it will already surpass Petitioner's expected transfer datt~ to RRC. This amply satisfies Circuit Rule 27- ~ 2(1 ~ and ,~ ~
I n the interest of justice, this Court should grant this petition to expedite to prevent Petitioner from having to serve ar~y more
time than necessary.

Petitioner is indigent and it is apodeictical that he is not qualified in legally sophisticated matters to represent himself pro se. a~
i n this Petition, nor can he afford to secure counsel. Therefore, the Petitioner pleads with the court to have mercy on him ana
use leniency when adjudicating this matter. Due to the criminal nature of some of the rights violations that are c)ocumente~
herein, he respectfully requests that the court appoint counsel under the Criminal Justice Act to represent hin~ m this Petition

                                                                             DAVID LINEHAN
                                                                             Register No. 77362-112
                                                                             Lompoc FCI "Low"
                                                                             3600 Guard Road
                                                                             Lompoc, CA 93436

 I, David Linehan declare:
This petition concerns a plethora of issues including sentencing miscalculations, First Step Act Issues & Eamed Time Crec ~~s
(E.T.C.$) errors, incarceration neglect and abuse, etc.
 1 The place of detention is Lompoc FCI Low, 3600 Guard Road, Lompoc, CA 93436
2. The sentence was imposed by the United States District Court, Central District of California, 255 E. Temple Street, Room
 1 178, Los Angeles, CA, 90012
3. Indictment number is unknown
4. The date of the sentence was February 17, 2023, to 60 months on count 2 (section 844(d)) after Petitioner was resenter~ce~
after having count 3 (section 1958) reversed on appeal from 120 months.
5. Petitioner entered a plea of not guilty.
6. The jury found the Petitioner guilty on count 2 and 3 but not guilty on count 1.               2
7. The original conviction was appealed                                                           ~.J l~ F 7'~
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      c~77362-112a                                             - - ~-C
                David Michael Linehan
                360Q Guard RD                                        -----------------------------------------------------
                Federal Correction Inst
                Lompoc, CA 93436-2705
                U nited States



  8. a. Information on the Appeal
  (1) In the United States Court of Appeals in the Ninth Circuit
  (2) Reversed count #3(18 USCS section 1958)
  (3) Data of reversal was 22 Decembr~, 2022
  (4) Citation or number of opinion 21-50206
  (5)"Not a crime of violence"
  9. Grounds upon which the Petitioner claims that his rights are being violated and being held unlawfully. (Succinctly describe
   who did exactly what to violate petitioner's rights at what time and place).

   b. Ground two: First Step Act Issues & E.T.C. Errors (see Ground TWO)
   c. Ground three: Violation of 1st and 8th Amendments to the U.S. Constitution (See Ground THREE)
   e. Ground four: Financial Violence (see Ground FOUR)
   g. Ground five: Prosecutorial Misconduct &Physical Assault While in Custody (see EXHIBIT Z)
   FACTS: Petitioner respectfully requests the court to appoint a Special Counsel to investigate the withholding of exculpatory
   evidence by the prosecution in violation of the Brady Act by excluding telephone conversations, forensics evidence of forgery
   and other matters proving Petitioner's innocence by the prosecution. The judge was also a former colleague of the alleged
   target and, as a matter of prudence, should have recused himself to prevent the conflict of interest and prejudice that is directly
   correlated to Petitioner's false conviction that was reversed upon appeal. The Petitioner also pleads with the court to petition
   the Inspector General for a full, independent criminal investigation into the suspicious events surrounding the probable murder
g~ k1~David A. Lake for which Petitioner was held liable without cause as the Statute of limitations is moot. Petitioner has been
   maliciously targeted and retaliated against by law enforcement for his pervasive attempts to open a criminal investigation of
   i nsurance fraud and law enforcement malfeasance. Petitioner's attempts at such through his elected representatives, for
   decades, have been persistently ignored due to collusion between the government and law enforcement in his prosecution
   Petitioner has been the subject of a malicious political targeting campaign, very similar to the Durham case. The judicial sys!en
   has been weaponized and is now used to achieve political objectives to discredit, slander and effectively cancel opponents
   As further evidence of retaliation, Petitioner was viciously physically assaulted at his bunk at Lompoc FCI (J04-016Lj in
   Decembre of 2022 by staff proxies and, prior to this, by agents on route from Terminal Island FCI to MDC-LA on 1 Octobre.
   2020. For fear of his life and safety, Petitioner only reported the former incident to his legal counsel and confidentially to the
   Staff Psychologist , Dr. Clegg, at Lompoc FCI, who has a record of the event.
   10. Petitioner has not previously filed any petitions for habeas corpus, motions under Section 2255 of Title 28, United States
   Code, or any other applications, petitions or motions with respect to this conviction.
   1 1. n/a
   12. n/a
   1 3. Petitioner is not represented by counsel on this matter.
   14. n/a

   WHEREFORE, Petitioner prays that the court grant him relief to which he may be entitled in this proceeding.

    declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge. Executed this 7th day of
   April, 2023.




                                                                                                        :andidate (ABD)



                                                                                                               ~
                                                                                                               -~ OAF a.C~
       Case 2:24-cv-00157-ODW               Document 1         Filed 01/08/24        Page 14 of 35 Page ID #:14
                                                                                              ~vNTD ``c~?i~

             Us Armed Forces Service Comp
             Attn: DSCC Delta Team
             346 Marine Forces DR
             Sentence Computation Data
             Grand Prairie, TX 75051
             U nited States


Administrative Remedy INFORMAL RESOLUTION (BP-8)/First Step Act Issues &ETC Errors / 27 March, 2023
David Michael Linehan, B.S.E.E., M.B.A., Ph.Q. former candidate(ABD)/Register No. 77362-112
Appeal Court No. 21-50206 /District Court No. 0973 2:20-CR-00417-ODW-1
DATE OF INCIDENT: 21 March, 2023 at Third Unit Team Meeting

ATTACHMENT B

Firstly, I respectfully request the addition of 50 days of Earned Time Credits (ETC)for the period up to and including 16 April,
2023, pursuant to 18 USCS —3632(d)(4)(A)(ii) towards my release date. I have remained at low risk of recidivating for three
consecutive "assessments" dated 21 April, 2022, 2 Octobre, 2022 and 21 March, 2023 and, according to the Statute, I "shall
earn an additional 5 days of time credits for every 30 days after two consecutive assessments", not the 10 days shown on the
FSA Time Credits Calculation sheet(EXHIBIT A). The first "FSA Needs Assessment"(EXHIBIT B) is explicitly and clearly
denoted as such and is dated 19 April, 2022, and my FTC eligibility began 21 April, 2022. According to Federal law, the
additional 5 days must be added for every 30 day period following the second consecutive "assessment' dated 2 Octobre,
2022, calculated as follows:

1)21 April - 21 May : 10 days(Year 2022)
2)21 May - 20 June : 10 days
3)20 June -20 July : 10 days
4)20 July - 19 August : 10 days
5)19 August - 18 Sept :10 days
6)18 Sept - 18 Oct : 10 days (2nd consecutive FSA "assessment" on 2 Oct, 2022)
7)18 Oct - 17 Nov : 15 days
8)17 Nov - 17 Dec : 15 days (Start Year 2023)
9)17 Dec - 16 Jan : 15 days
10) 16 Jan - 15 Feb : 15 days
1 1) 15 Feb - 17 March : 15 days
1 2) 17 March - 16 April : 15 days                     ~oU ~R, ~- C~-aSS~E.S                   I~~m
--------------------------------------
TOTAL FSA time credit =-150 days                       ~A'R,CN            - _- Jvu~ ~a~
Secondly, I respectfully petition the Bureau for immediate transfer to a RAC, preferably in Central Califonnia, where I may
continue earning the remaining 215 days of additional FSA time credits available to me pursuant to USC 3632 (d)(4)(C) and
obtain the medical care I am being denied. Allowing individuals to earn time credits while in RRC is authorized by the First Step:.
Act. My current release date has been miscalculated and should be 10 July, 2024, when                     FAA credits are updates:
accurately. As a disabled senior over 65 with no residence in the United States and in direct violation of the Americans with
Disabilities Act, I continue to be denied my Constitutional rights under both the First and Eighth amendments by the Bureau's
failure to provide the urgent and critical medical and emergency room care I require while incarcerated. I could readily receive
these services under Medicare if I were released to a RRC and this is further justification for my immediate transfer to RRC. My
urgent Request for Triage services that was sent via Certified Mail in Novembre of 2022, after being lost or misplaced
previously, were ignored (EXHIBIT C). I was again denied emergency room care for the recurring and life threatening severe
seizure that I experienced in J dorm in June of 2022 that could have lead to my death.--- ~ e~ ~ Q p~ 'apa.3

The Bureau wholeheartedly agrees that inmates in prerelease custody (RRC) are eligible for Earned Time Credits (ETCsj
pursuant to 18 USC 3632 (d)(4)(A).(see Federal Register Vo1.87, No. 12, Wednesday, January 19, 2022 /Rules &Regulations
p. 2712 which is attached as EXHIBIT D). These and other issues were previously rejected in my Central Administrative
Remedy request (EXHIBIT E)which raised SENSITIVE issues that are not included in this informal complaint at the institutional
level. The rejection reason was moot because SENSITIVE issues are not required to be filed at the institutional level. I require
the maximum allowable amount of time in RRC of 18 months to ensure my successful return back into society as I have not
lived in the United States since 2001 and have no residence here any longer. I agree to continue to participate in Productive
Programming activities to earn the remaining ETCs available to me during my stay in RRC to be applied to pre-release custody
and/or supervised release.

                                                                                                        ~ ter- a(~
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                                                        EXHIBIT A

                                           FSA Time Credit Assessment
                                        Register Number:77362-112, Last Name;LINF'HAN

U.S. DEPARTNI~NT OF JUSTICE                                                          FEDERAL BUREAU OF PRISONS


Register Number....: 77362-112                                     Responsible Facility: LOF
Inmate Name                                                        Assessment Date.....: 02-11-2023
  Last . . .... . ... . ..: LINEftAN                               ?eriod Start/Stop...: 04-OS-2022 to 02-11-2023
  rirst ............: DAVID                                        Accrued Pgm Days....: 312
  P4iddle...........:                                              Disallowed Pgm Days.: 0
  Suffix........ ....                                              FTC Towards P,RC/HC..: 0
Lender...... . ... . ..: MALE                                      FTC To~~rards Release .: 100
Start Incarceration: 09-13-2021                                    P.pp1y FTC to Release: Yes

Start          Stop           Pgm Status       Pgm Days
04-05-2022     Q2-11-2023      accrue          312
  Accrued Pgm Days...: 312
  Carry Over Pgm Days: 0
  ^
  time Credit Factor.: 10
  Time Credits.......: 100
-----------------------------------------------------------------------------------------------
     Start         Stop          SL2tLT5          Risk Assignment Risk Asn Start             Factor
001 04-05-2022 70-02-2022 ACTUAL                  E`SA R-L~r1            04-19-2022 1_ 937   1_0
002 10-02-2022 03-31-2023 AC^_UAL                 FSt~. R-L~r1           04-19-2022 1937     10




                                                                                        C~ o~ acs
Assessment Date: 02-11-2023                                      ~1~                                  Assessm=nt~ -2196895059
  Case 2:24-cv-00157-ODW       Document 1        Filed 01/08/24              Page 16 of 35 Page ID #:16
                                             EXHIBIT B                                   ~

                                    F3~ Needs Reassessment
               _               Register Ntucber:77362-112,:.Last Name:LINEHAN

 U.S. DEPARTMENT OF JUSTICE                                                        FEDERAL BUREAU OF PRISONS


 Register Dlumber: 77362-112                              Responsible Facility: LOF
Inmate Dlame                                              Assessment Date.....: 04/19/2022
   Last.........: LIDTEHAN
   First........: DAVID
   Middle.......:
   Suffix... _....
Gender.........: bLALF

Needs Reassessment Worksheet Summary
 Need Area                      - Before/After - Assignment - Description
Anger/Hostility                    Before                N-ANGER Y            NEED - ANGER/HOSTILITY YES
                                   After                 N-ADIGER Y           NEED - ANGER/HOSTILITY YES
Antisocial P22rs                   Before                N-ADITISO R          NEED - ANTISOCIAL PEERS REFUSE
                                   A=ter                 DI-ADiTISO R         NEED - ADITISOCIAL PEERS REFUSE

Cognitions                         Before                N-COGNTV R           NEED - COGDTITIONS REFUSE
                                   After                 N-COGriTV R          NEED - COGNITIONS REFUSE

education                          Before                N-EDUC Y             NEED - EDUCATI0~1 YES
                                   After                 N-EDUC Y             NEED - EDUCP.TION YES

Gamily/Parenting                   Berore                ~I-Fhl/PAR Y         DIEED - FP.1~lILY/PARENTIDIG YES
                                   After                 D1-F~-1/PAR Y        NEED - cP.MILY/PAREDTTING `DES
Finance/Poverty                    Before                D1-FIN PV Y         rIEED - rIDIADICE/POVERTY YES
                                  ? ter                  id-FIDI PV Y         b]EEu - rlivPl•iCLiPG~LtT' ~~~
i4~dical                           Before                Ti-~I~DICL Y         VEED - MEDICAL YES
                                   biter                 DT-`t~L_,DICL        NEED - N~DICl-.L YES
i-lental Health                    Before                Dt-~l HLTH D1        NEED - ~lErITAL HEALTH ri0
                                   Alter                 Di-b! HL^1H Di       D1EED - NLNTAL HEALTH X10

Recreation/L~isure/Fitness         Before                DI-P.LF Y            NEED - REC/LEISURE/FiTVESS YES
                                   Alter                 V-RLF Y              NEED - REC/LEISURE/FITDtESS YES
Substance lbuse                    Before                Dl-SUB AB N          NEED. - SUBSTt~NCE P.BUSE NO
                                   After                 DI-SUB AB rr         DTEED - SUBSTANCE ABUSE PTO
Trauma                             Before                N-TP.AUMA N          NEED - TRAUN1c; NO
                                   After           -     P1-TRAU~ N           NEED - TRAUMA NO
'
uJork                              Before                ~I-PIOP.K `l         ~1EED - N10RK YES
                                   After                 PI-~nTORK `I         DIEED - ~r10RK YES

Needs Reassessment Worksheet Details
deed Area: Anger/Hostility, Assignment: DT-ArIGER Y
  vo Data
------------------------------------------------------------------------------------------------
Need Area: Antisocial Peers, Assignment: N-ANTISO R
  Vo Data
------------------------------------------------------------------------------------------------
Need Area: Cognitions, Assignment: DT-COGDi1V R
  Ito Data


                                                                                                   ~ F a~

Asszssment Date: 09/19/2022                            ~~.~              A=sessment# f902e870-9289-42f4-2924-6ea14f1f2680
         Case 2:24-cv-00157-ODW
        EXHIBIT C                                          Document 1             Filed 01/08/24        Page 17 of 35 Page ID #:17
                                                  721 2720 0~~3 569 6772
~NSN7540-00-63d-4176
                                                                                                                                                  600-108
                           CHRONOLOGICAL RECORD OF 1VIEDICAL CARE
 HEALTH RECORD



                                          SYNfPTO~IS, DIAGNOSIS,TREATMENT,TREATING ORGANIZATION (Sign each entry)

 Date: ~ ~ I~C~1 '~,.                                              INNI?~TE REQUEST FOR TRLAGE SERVICES

 SHU                                                          (Formulario y Registro Para Atencion A~ledica de Cor:finados)

                                                       Comp[aint(Q~teja), {Vhat is your medical problem?(Caul es su problema?)




 Subjective:               p~E~`j~                    +~       ~~'                   ~v




                        How long {rave you had this problem?(Durnnte cuanto tiempo ha tenido este problems?)           ~1~~•,~ ;J C.~        `     4 ~u~

                        Days(Dias)                _        ~1lonths(~1~eses ~Years(Anos)

                        Signature(Firmd,(~'
                                         ~J



 Objective:
                        Temp:            Pulse:             RR:            B/P:           Oxygen Sat:        Pain Scale:      /10

                        Visual Acuity:                      Fingerstick:




 Triage Findin;s:




                        Triage Personnel=s signature:


                                                                                          FCC LOMPOC

                                                               PATIENT=S NAME (Last, First, iYliddle initian                  ID lYamber:

                                                                              David Michael Linehan                                 ~>77362-112



                                                                                                          ~ 0F ~,(~
Case 2:24-cv-00157-ODW                        Document 1               Filed 01/08/24             Page 18 of 35 Page ID #:18
                                                                         EXHIBIT D


   2712..:        Federal Register/Vol. 87, No. 12/Wednesday, January 19, 2022/Rules.and Roaulations

  however, will also be held responsible                fransferred to prerelease custody                  Because "[p)re-release inmates at an RRC
  for any attendant disciplinary                        approved by the warden.                         remain in Federal custody while serving a
   prohibited act code violations, e.g.,                   Similar requirements exist under the         sentence imposed by a U.S. Dish~ict Court or
  failing to report to institution work                 FSA for application of earned Time              DC Superior Court," theq are "prisoners" for
   detail.¢                                             Credits to fransfer to supervised release. the   the purposes. of the First Step Act Nor does
      COi1~t~1~'NT:FSA Time Credits should                                                                   First Step Act distingvish between
                                                        Time Credits may not be applied to             "prisoners.":w~ioares           Q eu sentence in
   be applied to an inmate's fransfer to                transfer to supervised release under 18
  supervised release (to shorten a term of              U.S.C. 3624(8) unless:
  imprisonment).                                          • The amount of earned Time Credits
     Some commenters indicated that they                is equal to the remainder of the inmate's
   were concerned that Time Credits                     imposed term of imprisonment;
   would not, in fact, be applied to transfer             • The inmate's sentence includes a            supervisea release.
  to supervised release at all, but instead             period of supervised release to be served              owing in *n u s incarcerated in an
  might only be applied to prerelease                   after his or her term of imprisonment;          RRC to earn time ¢edits by pazticipating in
  custody, noting that the proposed rule                                                                ESRRs would further the purposes of the
                                                          • The inmate's latest risk and needs          First Step Act.RRCs _offer
  "does not address the procedures for                  assessment shows that he or she is at a                                  _. _.substance abuse
                                                                                                        treatment and other programs similar to those
  deter*n~n;ng whether an individual                    m;nim~ or low risk of recidivating;             offered in BOP institutions. There is no
  inmate will have FSA Time Credits                     and                                             reason to believe that a pro~am offered in an
  applied toward prerelease custody, early                • The application of Time Credits             RRC will reduce recidivism any Iess than one
  ~ansfer to supervised release, a                      would not result in starting the period         offered to an individual in prison.In fact,
  combination of both,or neither; this                  of supervised release more,than 12              such Propams may be more effective, as
  proposed rule only-addiesses the                      months before he or she. would ..               individuals are close to release from cvstocly
  procedures far earning, a`varding, loss,              otherwise be elieble to do so (i.e., any        and can baQin putting lessonslearned into
                                                                                                        practice as they transition home. BOP should
  and restoration of FSA Time Credits."                amount of earned Time Credits in                revise the proposed rule to allow individuals
     1~ESPONSE:As stated, under the FSA,                excess of 12 months `vould be applied          to earn Time credits while in an RRC.
  an elioble inmate ~vho successfully                  to prerelease custody).
  participates in an EBRR Program or PA                   See Nathan James, U.S. Congressional             Congressman Hakeem Jeffries(D—NY)
  recommended by staff based on the                    Research Service, The First Step Act of          also stated,"I see no reason to make
  inmate's risk and needs assessment may               2018: An Overview (2019), at 5~.                individuals in Residential Reentry
  earn FSA Time Credits to apply toward                   The Bureau assures commenters that           Centers (RRCsJ or in home confinement
  prerelease custody or ~ansfer to                     FSA Time Credits will be applied to             inelioble to earn time credits. . . .
  supervisedrelease. Eli)ble inmates may               early ~ansfer to supervised release, as         Contiess could have used a narrotiver
  earn 10 days of Time Credits (and, if                authorized by the FSA in 18 U.S.C.              definition or explicifly excluded certain
  maintaining a low or m;r;mum risk                    3632(d)(4)(C} and 18 U.S.C. 3624(e). See        categories    ofindividuals based on
  status, an addiiional5 days of Time                  2020 Annual Report at 39-44. the                 where they serve their sentence, but it
  Credits)far every 30-dap period of                   Bureau intends to adhere to the                 chose not to do so."                               ~
  successful participation in EBRR                     parameters of the FSA to permit                     RESPONSE:       After care~lly
  Programs or PAs.                                     applica~on of Time Credits totivard             considering the comments received, the
                                                                                                       Bureau a         s     ti       t c'
     However, under the FSA (18 U.S.C.                 ~ansfer to supervised release pending
  3624(8)), even if earned, Time Credits                                                                  usto y—whether in a residential
                                                       development of policy, in individual
  may not be applied to prerelease                                                                     reentry center RRC) ar on home
                                                       cases as appropriate.
  custody until:                                                                                       co       ementare elio5Te to earn FSA
                                                          COi~MENT;Earrein,;FSA Time
   "•-The~amount of earned Time Credits-                                                               'Irime
                                                                                                           Credits-un eF= - . .                   -------- ---__
                                                        Greditashould coiitir~uein`Residen`tial
  is equal to the remainder of the inmate's                                                            3632             ,w c          ey could
                                                       Reentry Centers and/or while in home
  imposed term ofi_mprisonment;                                                                        presumao y app y, under 18 U.S.C.
                                                       confinement.
    • .The inmate has demonstrated a                                                                   3                   owar              to
                                                          Many commenters raised an issue that
  reduced risk of recidivism or                          vas articulated by Senator Sheldon            su~eivi'se~release.
  maintained a minimum or low                                                                              f e pracnc e ect of allowing
                                                       4Vhitehause(D—RI) and Senator John              elioble inmates to keep earning Time
  recidivism risk during his or her term of            Cornyn(R—TXJ as follows:
  imprisonment;                                                                                        Credits while in prelease custody
                                                          The proposed rule also provides that"FSA [RRCsJ will likely be limited, however,
    • The remainder of the inmate's                    Time Credits can only be earned while an
  imposed term ofimprisonment has been                                                                 for several reasons. Firsf, the Bureau
                                                       inmate is in a Bureau facility, and will not    intends to transfer eligible inmates who
  computed under applicable law [e.g.,                 be earned if an inmate is in a Residential
  Good Conduct Time Credit under 28                    Reentry Center or on home confinement."         satisfy the criteria in 3624(8) to
  CFR part 523 has been applied,                       The proposed rule does not cite to any          supervised release to the extent
  eliobility for early release consideration           authority for this restriction, and this        practicable, rather than to prelease
  under Residential Drug Abuse                         interpretation is not consistent with the goals custody. The Bureau therefore
  Treatment Program.roQulations in 28                  of the Rust Step Act.                           anticipates that the total population of
  CFR part 550 has been evaluated, etc.);                                                              eligible inmates in RRCs or home
                                                                                                       confinement will be small.
  and                                                           e Act provides that "~tlime credits        Second, as a practical matter,
    • The inmate has been determined to                        .~. '6v'soners
                                                                        vn        who—  suc
                                                                                         ~ss£~~
                                                                                           ce          propamming and services far inmates
  be at a m;nirnum or low risk of                                                                      in RRCs or home confinement will often
  recidivafing based on his or her last two                         ve
                                                                                                       be provided off-site or by a third-party
  assessments, or has had a petition to be
                                                                                                       provider; which makes tracking
                                                       'a person         as been sentenced to a term   successful participation more difficult.
    ° See 28 CFR 541.3, Table 1—Profiibited Acts and
  Available Sanctions: Moderate Severity Level         of imprisonment pursuant to a conviction for For example, community-based
  Prohibited Acts, code 306:"Refusing to work ar to    a Federal criminal offense, or a person in the substance use ~eatment programs
  accept a program assignment."                        custody of the Bureau of Prisons."              referred to by the Senators in their


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.,~   ~'
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                                                                                       ~~~~

           ra77362-112c~
                   Da~iid Michael Linehan                                                                                                                                                                 ~ ! ', ~~~~
                   Church of Smyrna                                                                                                                                                                          - '~`~  ~;
                   3600 Guard RD                                                                                                                                                                            P:         1
                   Federal Correction Inst                                                                                                                                                    ' ; ~~        ~ I,
                   Lompoc, CA 93436                                                                                                                                                               ~~        ~,
                   U nited States                                                                                                                                      i                       '~ t         r ' ;'1
                                                                                                                                                                                               'I~          ~ 1 ,
                 i                                            _
                                                                                                                                                                                                               I~ ,~ ~~~
                                                                                                                                                                                                                     .
      18 Novembre, 2022          *****``**** VIA Certified Mail # 7021 2720 0003 5069 6772 **************                                                  ~                          ~          ~ ~~           i , ~'

      Jaspar D~h~liwal, M.D.                                                                                                                                                                           I ~ ~           y
      Medical pepartment                                                                                                                                                                               c '             ~
      FCI -Lompoc                                                                                                                                                                                     r,
      3901 Klein Blvd.                                                                                                                                                                                    J
      Lompoc, CA 93436       ~                                                                                                                                                                           !~ I ~ I ~ ~ }~'

      Re: Attached Request For Triage Services dated 18 Novembre, 2022                                                                                                                                    ~
                                                                                                                                                                                                           i ~                        .;
. ~ Dear Dr. Dhaliwai,
'                                                                                                                                                                     !                                   ;1 ,                        ,

       pray that you are well. I am contacting you in this extraordinary fashion, via Certified Maii (#~021 2720 0003 b069 677~),j ~ . ,                                                                                              ~s
      because my communication through internal B.O.P. means seem to be frequently lost or misplaced.                                                                                                                                 `^F

      I~ have been experiencing what -may be heart~palpitations over the last several weeks and am writing to request an urgent E          1
      a= ppointment
            ',      with
                     , , a, „Board Cert,ified Cardiologist to follow-up with a thorough examination of the heart,murmur condition that was ';
      diagnosed ~at Terminal Island over two years ago. I was inform,~d at -that time that I was scheduled to have an appointment wiith
      a cardiologist. but-it has never occurred. Additionally, I need to see a Board Certified Neurologist who will clinically evaluate
      ~~tl classify'"my `seizure/epilepsy disorder and directly address the pervasive secondary after effects I continue to experience,'
      which .coul_d have led to my death here in Lompoc FCI in June of this year after being denied emergency medical care at a
      hospit~i

      i also reQ u~re ra Bard Certified Dermatologist to diagnose and treat possible pre-canczrous aberrations, acute onychoiiiycosis
      and other skin conditions caused by the u'nsanitary'environment here at Lompoc'FCI. I request that you immediately prescribe
      Itraconazol,e 100 mg as well as Zinc, Magnesium and Manganese for my severe mineral deficiencies as well as a probiotic
      suppl,emer~t due to~the poor diet that I receive at Lompoc FCI which has directly caused my elevated triglycericle levels, mineral
      and vitamin'.d'eficiencies and flatulentus leguminosus. I also request that you prescribe a natural remedy, if available, to
      address the ylatter issue as soon as possible.

      Finally; I also'neetl`an immediate and full ophthalmological examination for vision correction and investigation for other
      potential acula~ jssues. Thank you in advance for your.kind and urgent attention to these matters.
                                                                                                      ~. .
      Sin
       e1y
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      David Linehan; B.S.E.E    ,'M..B A.,`Ph D. fo~rrier candidate  (A B.D.)          ~       '~'                        , ~'                     f       I ' '" ~ "~ ~ + '~'  ~
      ..
                   i     ;_ ~ ~     ..     '                  ~   .. s    ~                r          i ..,                 ~,                             ~        M     i n i I s ,, ,
                                                                                                            '; '
                                                                                                                                ';       i     ~   f   ~       vi
                                                                                                                                                              ~~ ~ ~P                     s I 1 i~.       i u
      •cc~~Ms'~Eliza~eth Richardson Moyer Esq.; , ; ~                                      ,                ,;              ~                      j , ~ ,;;~ i;   ,~                           ;, , ,
                                  ,,
      P,S, ; I have attemptetl for some time to obtain my medical records for which I have paid $30.20 to no avail after several visits
      tomedical and many "cop=out" attempts. If possible; would you see to it that they are forwarded to me via internal mail at your
      earliest,convenience, please?                   'S ` i ~ ~                                               ;,            ,fin~°~ ~
                                          !'    ,.    ' I:                I     ~' _                               ~ f;.{ ~~
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      Gratas Nativitas Icta. Sheol
      Augustus Simulacrum dat pluribe conungum quo, quid am Angelus lux ex, atque in Novi Yorkum portum libertas habitas
      superbum tam;; es'Semiramis Regina Latebra Babel mundi irrite coin; P.utana,diaboli, "suus foris.ab adYe,nire",[ ,, , ,                                                                                 ~.
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            Case 2:24-cv-00157-ODW                         Document 1                 Filed 01/08/24                  Page 20 of 35 Page ID #:20
             EXHIBIT.E .                                 7~2~ ~7~0 ~~p3 5 69 6789                                                  ~           ~ ~~~~~~ ~~ r~`~`
            U.~. Department of r~stice' .                                                     Central Office Admiriistz~ative Reziiedy Appeal
            Federal Bureau of Prisons

            Type or use Lti;l-point pen. If attachments ere needed, submit four copies. One copy each of the completed $P-bIR-9 and BP-DIR-10, including any attach-
            mants must he submiged with t}us appeal                                                                                      =     ~,--~.;~~~ ;h.r ~,,~
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            Part A—REASON FQk2 A,PP~AI,



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                          DATE.= T                                                                                              SIGNATURE OF REQUESTER
            Part B—RESPONSE




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            ORIGINAL: RETURN TO INMATE                                                                                        CASE NU1dBER:           ~~~i~'~!~~

            Part C—RECEIPT
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            SUBJECT:


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            USP LAM                                               .`K.~e""'~.'°".w                                                              t                      APRIL 1962
     Case 2:24-cv-00157-ODW    Document 1    Filed 01/08/24   Page 21 of 35 Page ID #:21



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                    REJECTION NOTICE - ADMINISTRATIVE REMEDY



DATE: DECEMBER 12, 2022




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      CENTRAL OFFICE

TO     DAVID LINEHAN, 77362-112
       LOMPOC FCI    UNT: 3 GP    QTR: J04-016L
       3600 GUARD ROAD
       LOMPOC, CA 93436




FOR THE REASONS LISTED BELOW, THIS CENTRAL OFFICE APPEAL
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.


REMEDY ID          1144440-A1      CENTRAL OFFICE APPEAL
DATE RECEIVED      NOVEMBER 30, 2022
SUBJECT 1          RELIGIOUS PROGRAMS - (EXCEPT FOOD/DIETS/MEALS), ACCESS TO
SUBJECT 2          DISCRIMINATION
INCIDENT RPT N0:

REJECT ??E~~ON 1: YOU SL?Br?TTTED YOUR REQUEST OE. APPEAL TO THE
                  WRONG LEVEL. YOU SHOULD HAVE FILED AT THE
                  INSTITUTION,     REGIONAL OFFICE, OR CENTRAL
                  OFFICE LEVEL.

REJECT REASON 2: YOU MUST FIRST FILE A BP-9 REQUEST THROUGH THE INSTITUTION
                 FOR THE WARDEN'S REVIEW AND RESPONSE BEFORE FILING AN APPEA
                 AT THIS LEVEL.




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 EXHIBIT E 2:24-cv-00157-ODW
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U.S:Department of Justice ~                                                    Central Office Administrative Renriedy Appeal
Federal Bureau of Prisons

Type yr use b.~t-point pen. Tf attachments are needed, submit four copies. One copy each of the completed $P-DIR-9 and BP-DIR 10, mcludirtg any attach-
ments must be submitted with this appeal                                                                                     >,~ ~=                  ~

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Part A—REASON FOR APPEAL                  4:     ~ ~''                                  Q,     ~r t ,~` ' ~          ~{.,~A  ~
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Part B—RESPONSE




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              DATE                                                                                                                GENERAI. COUNSEL

ORIGINAL: RETEJRN TO INMATE
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Part C—RECEIPT                                                                         ~^
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Return to:
                       LAST NAME, FIRST, Iv~DLE INITIAL                                REG. NO.                                     Uiv'IT           INSTITUTION
SUBJECT:


              DATE                                                           SIGNATURE OF RECIPIENT OE CBAiTRAL OFFICE APPEAL                                 BP-231(13)

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               Case 2:24-cv-00157-ODW               Document 1           Filed 01/08/24      Page 23 of 35 Page ID #:23
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28 Novembre, 2022     """**'`*"'` VIA Certified Mail # 7021 2720 0003 5069 6789 "*`*"'*'**'
CENTRAL OFFICE ADMINISTRATIVE REMEDY APPEAL
LINEHAN, DAVID, M. 77362-112 UNIT J04-016L LOMPOC

Part A -REASON FOR APPEAL
"We ought to obey God rather than men" (Acts 5:29) Attached is a copy of my Regional Administrative Remedy Appeal
Request(BP-230(13)) that was filed on 24 Octobre, 2022 as well as the Request for Administrative Remedy (BP-229(13)) that
was filed on 16 Septembre, 2022. I did not receive a response to the BP-230(13) within 35 days and am now exercising my
right to appeal to the General Counsel (BP-231(13)).

  am being severely persecuted for my religious beliefs under the First Amendment of the United States Constitution in
retaliation by the government for exposing their crimes against humanity and me. The church "has an unconditional obligation
to the victims of any order of society, even if they do not belong to the Christian community." It is apodeictical that, "at some
point the church must directly take action against the State to stop it from perpetrating evil". It was my duty as a member of the
Confessing Church to obey God and directly intervene with an email I sent to try and stop the State in its continuing genocide of
m y innocent Cambodian children students, just as the late Pastor Bonhoeffer did to try and stop Germany in its genocide of the
Jews. It was also my duty to "expose the darkness" and the crimes committed in law enforcement's probable homicide of David
A. Lake and their subsequent cover-up in my attempted reopening of a lawsuit while I was incarcerated at Terminal Island; for
this latest issue, I was framed for this false conviction in their on-going vendetta against me to obstruct justice.

".f they persecuted me, they will also persecute you" (John 15:20) "... have no fellowship with the unfruitful works of darkness.
but rather expose them"(Ephesians 5:11) As a Christian, in status confessionis, and former missionary in Asia, I continue to be
targeted and persecuted for following my religious beliefs. My false conviction was based upon perjury and falsified evidence,
and has been followed up by a pervasive and indisputable pattern of physical and psychological abuse by the State in the form
of threats by its agents leading to my protective custody; another false "conviction" in an Incident Report on 23 August, 2022,
which was also based upon lies and falsified evidence that has subsequently been expunged; covert bullying by staff, routine
non-delivery and tampering of my U.S. mail, non response to my tort claim for the FBI confiscation of all of my personal
property on 1 Octobre, 2020 at Terminal Island and pervasive medical malpractice in not providing emergency medical care at a
hospital, clinically evaluating and classifying my seizure/epilepsy disorder nor addressing the secondary after effects of
insomnia, paroxistic abulia, retrograde amnesia, vertigo, syncope, asthenia and dysthymia. Scheduled appointments to
investigate my heart murmur and ophthalmological issues were never followed-up. Webster's dictionary defines terrorism as
"the use of violence and repression for political purposes and gains" and this aptly describes State actions against my children
and me.

Additionally, I have been denied a one year sentence reduction due to discriminatory policies that favor drug offenders with the
R.D.A.P. program, additional First Step Act credits due to a subjective and stochastic determination of eligibility, access to Christ
-centered counseling in lieu of inefficacious, secular humanistic psychotherapy and employment conducive to my education and
experience in accordance with the disabilities I have been inflicted with by the State's malicious, pervasive, inhumane, cruel and
unusual punishment for crimes that I did not commit. In addition to my previous requests, I also demand immediate release
into Home Confinement and/or compassionate release to preserve my life which are within my rights under the CARES Act.

Postscript - Since my case involves exposing criminal collusion between the highest levels of the Senate, law enforcement and
State Farm Insurance company to cover-up the probable murder of David A. Lake and the fact that the mass media, politicians
and courts are complicit in this matter, only God can win this battle. To frame an innocent and indigent missionary using lies,
falsified evidence, criminal collusion and obstruction of justice for soliciting a crime of violence is a reprehensible act of
cowardice and slight of hand move to divert .attention to a "patsy". The State always accomplishes iYs objectives by any and all
means possible is likely using coercion to frighten my attorney also. We will all stand before my Lord and Savior, Jesus Christ,
someday to account for our actions. How will you plead? I imagine that the State may also kill me as it likely did to Lake and
label it a suicide or COVID death. It is _ ~ their Modus Operandi to frame and murder those who dare to dissent to their
tyranny. Justice is reserved for those with money and power. Dulce Et Decorum Est Pro Christi Mori.

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         Case 2:24-cv-00157-ODW              Document 1         Filed 01/08/24       Page 24 of 35 Page ID #:24~---
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Tf~ULINCS 77362112 - LINEHAN, DAVID -Unit: LOF-J;A




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                                                                                            ;  0~2~.,~a3
REGIONAL ADMINISTRATIVE REMEDY APP L -Via Certified Mail on 24 Octobre, 2022(7021 2720 0003 5069 6529)
Part A -Reason for Appeal
  did not receive a respons             al mplaint on 17 June, 2022, to the latest incident of near-death from severe
seizures I experienced on 16 Ju e 2022.     tall members do not have a deadline to respond to your informal complaint")
requested the necessary for     but was so enied them. I also did not receive a response to my BP-229(13) Request for
Administrative Remedy dated 16 ep m re, 2022. I believe that I am raising a sensitive issue and that my life is in danger.
Attached please find a copy of the BP-229(13)that I originally hand copied. cc: Ms. Elizabeth Richardson-Royer, 3739 Balboa
St. Suite 1095, San Francisco, CA 94121

Copy of my original BP-229(13) Request for Administrative Remedy to Warden Birkholz dated 16 Septembre, 2022:

 am writing because of my deep concern regarding the grossly negligent medical care that I have received during my custody
with the Bureau of Prisons since Decembre of 2018 that has directly resulted in serious, life threatening COVID-19 infections,
scabies and a permanent debilitating seizure disability caused by the abuse of staff members. The cruelty and gross medical
malpractice orchestrated by denying my right to emergency medical care at a hospital nearly led to my death on more than one
occasion. My 8th Amendment rights under the United States Constitution have been repeatedly and blatantly violated by the
government while being falsely incarcerated for crimes of which I am innocent of committing in acts of premeditated and
malicious retaliation.

   request immediate redress by providing equitable ethical medical care for all future medical emergencies and financial
compensation in the amount of $10 million U.S. dollars to pay for future medical care for the permanent disabilities and the pain
and suffering that I have incurred. Due to the "likely event" of my soon acquittal for wrongful conviction and impending
i mmediate release from incarceration, I request that you copy my attorney, Ms. Elizabeth Richardson-Royer, in your response at
the address shown in this letter.




                                                                                                 ~ ~ ~~ a(~
i54       BONHOEFFER                                                                                                                                       TFIE CHURCH AND THE ~EWISH QUESTION     ~• ISS



the church "has an unconditional obligation to the victims. of any order-                                               allow Jews to be a part of the church, but that
                                                                                                                                                                            this was precisely what the
ing of society, even iJ they do not belong to the Christian coirimunity.~~ Everyone                                     church was: it was the place where Jews and Germans
                                                                                                                                                                                  stand together. "w'/hat
knew that Bonhoeffer was talking about the Jews, including Jews who were                                               is at stake," he said,. "is by no means the question
                                                                                                                                                                            whether our German mem-
not baptized Christians. BonhoefFer then quoted Galatians: "Do good to                                                 hers of congregations can still tolerate church
                                                                                                                                                                           fellowship with the Jews. !t
all men." To say that it is unequivocally the responsibility of the Christian                              ~           is rather the task of Christian preaching to say: here
                                                                                                                                                                                   is the church, where
church to help all Jews was dramatic, even revolutionary. But Qonhoeffer                                              Jew and German stand together under the Word of
                                                                                                                                                                                 God; here is the proof
wasn't through yet.                                                                                                    whether a church is still the church or not."
    The third way the church can act toward the state, he said;"is not just to                                               Many would have remembered Galatians 3:28, declaring
                                                                                                                                                                                            that "there is
bandage the victims under the wheel, but to put a spoke in the wheel itself."                                         neither Jew nor Greek, bond nor free, male nor
                                                                                                                                                                            female, for you are all one
                                                                                                                                                                                                              Case 2:24-cv-00157-ODW




The translation is awkward, but he meant that a stick must be jammed into                                             in Christ Jesus." To underscore his point, Bonhoeffer
                                                                                                                                                                                 concluded with words
the spokes of the wheel to stop the vehicle. It is sometimes not enough to                                            from Luthers commentary on Psalm 1 10:3: '?here is
                                                                                                                                                                                  no other rule or test
help those cn►shed by the evil actions of a state; at some point the church                                           for who is a member of the people of God or the church
                                                                                                                                                                                     of Christ than this:
must directly take action against the state to stop it from perpetrating evil.                                       where there is a little band of those who accept this
                                                                                                                                                                               word of the Lord, teach
This, he said, is permitted only when the c arch sees its very existence                                       ~     it purely and confess against those who persecute it,
                                                                                                                                                                                and For that reason suf-
threatened by the state, and when the state ceases to be the state as defined                                        fers what is their due."
                                                                                                                                                                                                              Document 1




by God. Bonhoeffer added that this condition exists if the state forces the                                    t            In the spring of "1933, Bonhoeffer was declaring it the duty
                                                                                                                                                                                           of the church
"exclusion of baptized Jews From our Christian congregations or in the pro-                                1         to stand up for the Jews. This would have seemed radical
                                                                                                                                                                                        to even staunch
hibition of our mission to the Jews."                                                                                allies, especially since the Jews had not begun to
                                                                                                                                                                               suffer the honors they
    The church would be "iii state conJessionis and here the state would be in                             1        would suffer in a few years. BonhoefFer's three conclusions
                                                                                                                                                                                     —that the church
the act of negating itself." This Latin phrase, which means "in a state of con-                                     must question the state, help the state's victims, and
                                                                                                                                                                                work against the state,
fession," was originally used as a specifically Lutheran phrase in the sixteenth                                    if necessary—were too much for almost everyone.
                                                                                                                                                                               But for him they were
                                                                                                                                                                                                              Filed 01/08/24




century. By BonhoeFFers time it had come to mean a state of crisis in which                                         inescapable. In time, he would do all three.
the "confession" of the gospel was at stake. To "confess the gospel" simply
meant to speak forth the good news of Jesus Christ.` 13onhoeffer continued,
"A state which includes within itself a terrorized church has lost its most                        _                The advent of the Nazi victory and the Nazis' attempt to
                                                                                                                                                                                 co-opt the church
faithful servant."                                                                                                  resulted in chaos within the church itself, and in
                                                                                                                                                                          fighting and politicking                                         #
     Bonhoeffer went on to say that to "confess Christ" meant to do so to                                           among the many factions of the church. BonhoeFfer
                                                                                                                                                                         wanted to drown out the
Jews as well as to Gentiles. He declared it vital for the church to attempt to                                      cacophony of voices and look at these things calmly and
                                                                                                                                                                                logically. He knew
bring the Messiah of the Jews to the Jewish people who did not yet know                                             that if these questions were not addressed properly,
                                                                                                                                                                            one would be reduced
him. If Hitters laws were adopted, this would be impossible. His dramatic                                           to mere) y "political answers° or "pragmatic" answers.                                      '~'
                                                                                                                                                                              One could begin to                 ~
and somewhat shocking conclusion was that not only should the church                                               veer away From the true gospel, toward worshiping a
                                                                                                                                                                            god made in one's own               ~-
                                                                                                                   image, rather than God himself, the "eternally other' of
                                                                                                  ~'                                                                              whom Barth had -            ~~
    The term Cmifessiiig Church in large part was coined in reference to the phrase "iii stoles
                                                                                                                   spoken and written. And just as many well-meaning
                                                                                                                                                                         Christians at Union had _           ~;p:
                                                                                                                                                                                                              Page 25 of 35 Page ID #:25




confessionis." Those who believed that the German church had ceased to be the church of Jesus                      unwittingly abandoned that God For many good
Christ because of the adoption of the Aryan Paragraph decided that they must break away and
                                                                                                                                                                      reasons, so too many oFthe -           "=`''•
                                                                                                       1
form the church anew. The new church was called the Confessing Church because it proclaimed
                                                                                                                   well-meaning Christians in Germany were now doing. They
                                                                                                                                                                                   were convinced                   ~
the gospel of Jesus Christ.                                                                                        that if they bent their theology a bit, it wouldn't matter
                                                                                                                                                                              —the results would
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            aP—Ao2sa                       INCIDENT REPORT
            Dept. of Justice / Federal Bureau of Prisons

                                       Part I - Incident Report

 1 . Institution:       LOM?OC FC!                                     Incident ncpOL~ dumber: 3SS5705
 2. Inmate's Name                           3. Register number         4. Date of Incident                5. Time
    LINEHAN, DAVID                           77362-112                         08-23-2022                 0359 hrs
 5. Place of Incident                       7. assignment              8. Unit
    PHONE STATION 6097-LOFJ-B            UNASSG                              A
 9. Incident                                                           10. Prohibited Act Code(s)
    297 --PHONE ABUSE-DISRUPT MONITORING.                                     297




 1 1. Description Or Incident
      (Date: C8-23-2022   time:          0359hrs     stafz became aware of incident)

     On August 23rd, 2022, at 3:59 AM, while monitoring inmate recorded phone calls via TRUFONE,
     monitored a phone cal! placed to t~lephcne number 011525645890333 by innate D:.VID LINEtiA~~,
     Reg. No. 77362-112, on August 22nd, 2022, at 9:28 PM,from PHONE STATION 6097-LOF~1-B. After
     inmate LINEHAN states "UNITED STATES OF AMERICA", I could clearly hear the voice of a different
     inmate on the phone. I conducted a search of telephone number 011526645890333 on TRUFONE, and
      found inmate YEPEZ, JUAN, Reg. No. 66172-198, who had recently called the same number.

      The last documented phone call on inmate YEPEZ s account to the aforementioned phone number
     was da#ed August 21th, 2022 at 8:49 P.M., from PHONE STATION 6097-LOF~1-B. After monitoring
     this phone call, the voice on the phone matched the voice of the inmate who placed the call on
     August 22nd, 2022 at 9:28 PM under Inmate LINEHAN's account. I then monitored several calls made
     b y inmates YEPEZ and, and LINEHAN using their assigned TRUFONE accounts to various telephone
     n umbers. After I listened to inmates YEPEZ and LINEHAN individual voices on the phone calls, I was
     able to recognize inmate YEPEZ's voice to be the voice of the inmate on the phone call placed on
     August 22nd, 2022, at 9:28 PM, on inmaie LINEHAN's TRUFONE account.




   .~'I~L
i2. iyaed C•Iame/Signature of Reporting Employee                                    13. Date P.nd Time
    Joseph Giles                                                                        08-23-2022 0434 hrs
14. Incident Report Delivered to Above Inmate Ef                    15. Date Report          16. Time Report
    (Tyne Name/Sign~tur~)                                                Delivere:l               Delivered

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                                                                                           Attachmen~ 1


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  I~iFORI~Lr,I. RESOLU^ZION INSTRUCTIONS. STAF
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  ORIGINAL OF TtIIS FOR?`~I TO EzCH BP- 9 , WHEN
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 ,~~~~~y: David Michael Linehan
                                      REG. NO.:    77362-11 2•                 ~J11 _   J04-16L

 D~T~ BP-5 REQUESTED:

 D~T'~ SP-5 ISS[7ED

 D 'I'E BP- 5 P.ETT.J?.I~iED

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  See Attachment
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   Case 2:24-cv-00157-ODW          Document 1     Filed 01/08/24     Page 28 of 35 Page ID #:28


                                                                   {31 II.S.C. § 3723)
BP-A0943   SYri3Ll   C3.aims for E+~operty Damage or Loss
MAR !8
                                                                     E'EDERAL BUREAU OF PRISONS
II.S. DEPARTMENT OF JUSTICE

                                                     X77362-112      -                          —
 1. Loaat3.on ivhera the prop8rty loss ar                  David Michael Linehan
    damage oc~+asrod:                                     3600 Guard RD
                          \ ~` ~,~                            Federal Correction Inst
       ~`~ ~,N ~~
 T     Cam'_•              1 ~~~                              Lompoc, CA 93436-2705
                                                              U nited States



                                                 4. Time: (A.M, or E.M.):
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                                     the known facts and circumstan
 5. Basis o. Claim (3tato in detail                                   prope rty involved, ~.tse
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    or loss, of privately otaned property, ident                        , iE aeaessary.y:
                                             oE){IIse addit ional pages
    place o£ occuzzence and the cause ~flere




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        David Michael Linehan
        3600 Guard RD                                             -----------------------------------------------------
        Federal Correction Inst
        Lompoc, CA 93436-2705
        U nited States



7 April, 2023     **`***"**`* Via Certified Mail 7022 3330 0000 0599 3918 `*****"** EXHIBIT Z

Mr. Michael L. Tipsord
Chief Executive Officer &President
State Farm Insurance Company, Inc.
One State Farm Plaza
Bloomington, IL 61710

Re: Crucifixion

Subject: Resurrection

Dear Mr. Tipsord,

April marks the 35th anniversary of a nearly fatal auto accident that left me permanently injured both physically and
psychologically and forever changed my life. I am writing to respectfully request that you independently investigate the claims
made herein and, if they prove to be correct, reach out to me in compassion, do the right thing and help me to recover. I remain
indigent to this day because of these events and have never recovered from the treachery and betrayal.

 feel great sorrow for all those who conspired to frame an innocent man for ah accident that was caused by David A. Lake and
that nearly killed me. I have been defrauded out of millions of dollars in damages from both State Farm and the State itself.
was left permanently injured, lost everything, was abandoned and betrayed, had to drop out of my Ph.D. program, and then was
framed again and imprisoned to silence my continuing efforts to do as my Lord and Savior, Jesus Christ, commands me to do in
Ephesians 5:11. Falsifying evidence, perjury, obstruction of justice and criminal collusion were all used TWICE just to cover-up
the truth and install my corrupt and deceased attorney, Walter "Skip" Campbell into the Florida Senate and then frame and
imprison me to "cancel" me and my pervasive protests.

My VW was T-boned at a 90 degree angle on the passenger side in the Coral Grill restaurant parking lot in Islamorada, FL, by
Lake's Bronco crushing my vehicle. I had a $300K and Lake a $20K policy, both with State Farm. The blatantly false police
report showed that my VW collided with Lake's Bronco in the middle of the highway on the driver's side of my car. The perfectly
choreographed trial was a magic show, akin to a Pinocchio production, skillfully crafted to guarantee the pre-planned outcome
to frame the victim and deceive the jury. No photographs were shown to the jury but plenty of lies and evidence suppression
were used. A fantasia of smoke and mirrors and sleight of hand to achieve the desired objectives by expert and premeditated
collusion by all sides. I sat in awe in the kangaroo court not permitted to testify; a mute patsy. The goal was to first defraud the
heavily insured victim, me, and then betray the misguided culprit, Lake, to the collective benefit of the attorneys, law
enforcement and State Farm to avoid paying out claims and exposing corruption., The entire process was pure Machiavellian
brilliance in it's despotism.

There was also a large photo of the accident in the front page of the local newspaper the next day and William Emral, Monroe
Sheriff Deputy, the first responder, reported the truth to the State Police at the scene of the accident; yet both never reached the
jury. Broward Sheriff Deputy Hal Samuels had a comprehensive evidential dossier proving my innocence but was compelled to
testify in plain clothes while the State Police falsely witnessed in full. majestic State regalia. The facts are irrelevant when
corporate profits and installing corrupt attorneys into public office far collective gain are at stake. State Farm even had the
audacity to pay a death benefit from my policy, without my know{edge or consent, to Lake's widow after he was likely killed,
overtly or though proxies, by law enforcement to coyer up their malfeasance by feigning suicide. Lake would have become a
condemning whistleblower, if he had survived, and his "attorney sold him out", as was claimed in the overtly suspect and
conspicuous "suicide note". They have now metaphorically "killed" me too with their pervasive perjury, falsified evidence, etc.
framing me for "soliciting a crime" for which I am innocent to continue to subvert justice. Justice has become nothing but an
abstract construct in a country that has turned it's back on God. Even the Inspector General ignored my pleas for a full, criminal
investigation as the Statute of Limitations is moot. How is it even possible for a destitute person to solicit anything?


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       David Michael Linehan
       3600 Guard RD                                                -----------------------------------------------------
       Federal Correction Inst
       Lompoc, CA 93436-2705
       U nited States




State Farm supplied the cross and cowardly attorneys and law enforcement brought the nails to crucify an innocent man. State
Farm knew that I was innocent but, like Pontius Pilot, turned it's back and succumbed to the raging Cretans who were hungry
for blood chanting "crucify him!" Now, in this Resurrection Season, it is your chance to right this horrible travesty of injustice
and bring rebirth to your martyred former and loyal customer.

No one gets away with anything. We will all stand before Christ someday to account for our actions. May God have mercy
upon everyone involved. I remain innocent for both the accident and this false conviction and God knows the truth. I have no
remorse or guilt because I am innocent of the accident and.of committing the heinous crime that is under appeal before the
Supreme Court. The love of money, corruption and the unbridled lust for power is behind this terrible injustice. God's
vengeance is far worse than anything mere mortals could possibly do and an eternity in the Lake of Fire is vuhat is in store for
those who refuse to repent. "For what will it profit a man if he gains the whole world, and loses his own soul?"

  have never given up the fight forjustice, against all odds, and been severely chastised and persecuted for doing so. "For the
love of money is the root of all kinds of evil..." (1 Tim 6:10). i will pray for your soul and hope that you will do the right thing...
please restore me.

Sincerely,
 ~~~ - `            ~      ~
  ~                        ~

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David Michael Linehan, B.S.E.E., M.B.A., Ph.a:former candidate(ABD)
 attachment Psalm 73
cc: UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA, 20-00417-ODW, WRIT OF HABEAS
CORPUS (EXHIBIT Z)




                                            "COWARDS CAN NEVER BE MORAL"-Gandhi




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         Case 2:24-cv-00157-ODW                Document 1         Filed 01/08/24        Page 32 of 35 Page ID #:32


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            Federal Correction Ins?
            Lompoc: CA 93436-2705
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            U nited States


Attachment X -Statement of Complaint(#165435) dated 24 April, 2023

"Cursed are those who put their trust in men..."(Jer 17:5). Andrew Cowan, hereinafter AC, violated both the California State
Bar Act and the California Rules of Professional Conduct with professional malpractice in performing his court mandated duties
as my defense counsel. AC's misconduct strengthened the State's malicious prosecution of an innocent man to achieve the
polar opposite of his State Bar required obligations.

  filed a Writ of Habeas Corpus with the Central District of California on 7 April, 2G23, that included a claim of prosecutorial
 misconduct in which AC actively aided and abetted the State in it's malicious prosecution. AC repeatedly deceived me about
 being acquitted at a face-to-face meeting we had on 19 June, 2021, at MDC-LA by assuring me that there was "no legal basis"
for my prosecution thereby intentionally instilling false hope. Subsequently, following my wrongful conviction, AC affirmed his
contempt for his client and his clienf's religious convictions with his defaming and~slanderous declarations in a court filing
 entitled "Under Seal Document" dated 7 Septembre, 2021. In it, AC made false adharmic clinical psychological assessments of
 the defendant when he had no formal training or qualifications to do so. AC's blatant malevolence towards the defendant and
 his Christian beliefs were pathognomonic. The defendant completed doctoral studies in Clinical Psychology(ABD)with highest
 honors, including internship, and is qualified to make clinical assessments based upon the Diagnostic and Statistical Manual
 revision 5, hereinafter DSM-V. AC meets or exceeds the DSM-V diagnostic criteria far Anti-Social Personality Disorder
(301.7/F60.2) and, as such, should be disciplined by the State Bar to prevent him from harming future clients. AC's
 premeditated sabotage of his client's right to a fair trial was willful, malicious and caused irreparable harm.

AC's malpractice and prejudices were directly correlated with my wrongful conviction for crimes that I did not commit. AC even
had the audacity to proclaim that I would be acquitted upon appeal if I only remained "patient';another lie that caused me
further psychological distress and led to false hope again. AC colluded with the State in my wrongful conviction either willfully
or through coercion. I have petitioned the court in my Writ to appoint a "Special Counsel" to investigate violations of the Brady
Act in the deliberate omission of exculpatory evidence in which AC was, de facto, implicated. This includes telephone
conversations, forensic evidence of forgery, D.O.J. entrapment tactics similar to the Durham case including bribing career
criminal FBI informants and many other vital matters that the jury members were ignorant of in their deliberation and that would
have led to a not guilty verdict on all three counts; not just on count one for "retaliation". Instead, as I stood paralyzed and in
shock in the dispiteous courtroom, the blind jury members found me guilty on two counts of "soliciting a crime of violence" How
is it even possible for a penniless man to pay professional hit men for such a heinous act if he is destitute ? As an engineer and
university teacher trained in logic, AC was morally obligated to inform the jury, directly or indirectly, that I had only one month
before my release and certainly any logical person would wait 30 days so that they would be free to escape. AC deliberately
failed to perform his ethical duties under the dictates imposed by the State Bar that directly led to my wrongful conviction and
subsequent torture while incarcerated.

  respectfully request a full, expedited, impartial and immediate confidential investigation of AC and appropriate disciplinary
actions. My life remains in great danger and I have been physically threatened and assaulted on several occasions while in
custody while AC stood by idly and did nothing. I have been persecuted, slandered and targeted for decades for following my
religious conviction that one should never, ever give up the fight for justice. Christ was considered to be crazy for his
convictions also. I further request special consideration and direct assistance by,the State Bar in securing a certified attorney
who specializes in pro bono legal malpractice to assist me in my fight for justice. The Bar must be culpable for licensing such
an overtly unethical individual and take extraordinary steps to assist his victim. Lying is assault with a "deadly weapon"; the
tongue, and should be treated as such.

 attachments - 27 February letter to Cowan requesting that he recuse himself /Writ of Habeas Corpus dated 7 April, 2023

P.S.- Please accept my email invitation dated 21 April, 2023 to intake@calbar.ca:gov
P.P.S.- It is apodeictical that an indigent person can never expect to receive a fair trial when all parties are being paid by the
State. How can only one count of "soliciting a crime of violence" be reversed on appeal when both counts are for the same
offence?
        Case 2:24-cv-00157-ODW              Document 1   Filed 01/08/24   Page 33 of 35 Page ID #:33



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          David Michael Linehan
          Obadiah Corari Nobis
          3 00 Guard RD
          Federal Correction Inst                                ,PS~~'~~~''~~ J
          Lompoc; CA 9343u-?705
          U nited States


1 May,2023

Ms. Elizabeth Richardson-Royer, Esq.
3739 Balboa Street, Suite 1095
San Francisco, CA 94121

Subject: Your letter to me dated 9 March, 2023

Re: 2 Tim 3:5

Dear Ms. Richardson-Royer,

 respectfully request that you recuse yourself.
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           PACIFIC LEGAL
        '` FOUNDATION


                                                            July 22, Zo23

  Mr. David Michael Linehan, # 77362-112
  Lompoc Federal Correction Institution
  3600 Guard Rd
  Lompoc CA 93436-2705

  Dear Mr. Linehan,

                                                    n Anderson at Pacific Legal
  Thank you for your June 30, 2023 letter to Steve
                                                  r attorney for re~riew, and it has
  Foundation. Your letter was referred to a senio
                                                 participate as amicus in this
  been determined that we cannot assist you or
                                                      requires. I am returning the
  matter. Our attorneys lack the expertise your case
  materials you submitted, per your request.

                                                     ation. I hope you understand
  Thank you for your interest in Pacific Legal Found
  the constraints vve operate under.

                                                              Sincerely,

                                                                         ~ .


                                                              Brien P. Bartels
                                                              Case Review Analyst


   Enclosure




                                                                                                             ~5 c~t~ ..
                                           Sacramento, CA 95814   p1FQa pacificlegal.org   916.419.7111   pacificlegal.org
            555 Capitol Mall, Suite 1290
Case 2:24-cv-00157-ODW       Document 1           Filed 01/08/24           Page 35 of 35 Page ID #:35




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                   X77362-112c~
                              Sacred Oath
                              Fraternal Order of Police


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                with all laws and rules of this Order,that!wil{ recognize thQ authority
                of my legally elected officers and obey alt orders therefrom not in
                conflict with my religious or political views,or my rights as:an
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                any
                  mtuber thereof, or permit the same to be done if in my power to
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                Sister in sickness or~distr~ess~ so tar as it ties ire my powecta a so;that
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                              California Innocence Project
                              Cal Western Lati~i School
                              225 Cedar ST
                              Attorney At LaUi
                              SAN Diego, CA 92101
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                              David Michael Linehan
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